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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

DODY BUSH-RETHERFORD                                                                 PLAINTIFF


VS.                                   1:10-cv-00029-WRW


BERLIN WHEELER, INC.                                                               DEFENDANT

                                             ORDER

       Pursuant to settlement, this case is dismissed without prejudice, without costs to either

party, and with leave for Plaintiff to seek reinstatement within forty-five (45) days from the date

of entry of this order. If this case has not been reinstated within forty-five (45) days from the

date of entry of this order, or a motion for reinstatement has not been filed by said date, then the

dismissal of this case shall automatically convert from a dismissal without prejudice to a

dismissal with prejudice.

       IT IS SO ORDERED THIS 27th day of May, 2010.


                                                     /s/ Wm. R. Wilson, Jr.______________
                                                     UNITED STATES DISTRICT JUDGE
